                 Case 2:22-cv-00771-JLR Document 8-1 Filed 07/01/22 Page 1 of 2




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                                                               HONORABLE THERESA L. FRICKE
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 6
 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   ROTHSCHILD BROADCAST
10   DISTRIBUTION SYSTEMS, LLC,                           No.: 2:22-cv-00771-TLF

11                    Plaintiff,                         DECLARATION IN SUPPORT OF
                                                         PLAINTIFF’S MOTION FOR ORDER OF
12           v.                                          DEFAULT
13   CREATIVELIVE, INC.,
14
                      Defendants(s).
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17
             I hereby Certify that I am the attorney of record for Plaintiff Rothschild Broadcast
18
19   Distribution Systems, LLC in the above refenced case, and that Defendant CreativeLive, Inc. was

20   served by the following method: Process Server on Monday, June 7, 2022. See Proof of Service.
21
     ECF No. 7.
22
23           I further certify that the Defendant has failed to serve an answer or other responsive

24   pleadings; no extension has been granted or any extension has expired; the Defendant is neither an
25
     infant (under age 21) nor an incompetent person; the Defendant is not in the active military service
26
27   of the United States of America or its officers or agents or was six (6) months prior to the filing of

28   the case.
29
             The Clerk is requested to enter a default against said Defendant.
30

      DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION FOR                       MEYLER LEGAL, PLLC
      ORDER OF DEFAULT - 1                                              1700 WESTLAKE AVE. N., STE 200
      (Case No. 2:22-cv-00771-TLF)                                       SEATTLE, WASHINGTON 98109
                                                                      TEL: (206) 876-7770  FAX: (206) 876-7771
               Case 2:22-cv-00771-JLR Document 8-1 Filed 07/01/22 Page 2 of 2




     Dated: July 1, 2022.
 1
 2                                                       MEYLER LEGAL, PLLC
 3
 4                                                        /S/ SAMUEL M. MEYLER
                                                         SAMUEL M. MEYLER, WSBA #39471
 5                                                       1700 Westlake Ave. N., Ste. 200
 6                                                       Seattle, WA 98109
                                                         Tel: 206-876-7770
 7                                                       Fax: 206-876-7771
 8                                                       E-mail: samuel@meylerlegal.com
                                                         Counsel for Plaintiff Rothschild Broadcast
 9                                                       Distribution Systems, LLC
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      DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION FOR                    MEYLER LEGAL, PLLC
      ORDER OF DEFAULT - 2                                           1700 WESTLAKE AVE. N., STE 200
      (Case No. 2:22-cv-00771-TLF)                                    SEATTLE, WASHINGTON 98109
                                                                   TEL: (206) 876-7770  FAX: (206) 876-7771
